Case:18-10965-TBM Doc#:114 Filed:07/16/18           Entered:07/16/18 13:56:04 Page1 of 4



                       UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO
                        Bankruptcy Judge Thomas B. McNamara

  In re:
                                               Bankruptcy Case No. 18-10965 TBM
  11380 SMITH RD LLC,                          Chapter 11

   Debtor.
 ______________________________________________________________________

      ORDER FOR HEARING ON ADEQUACY OF DISCLOSURE STATEMENT
 ______________________________________________________________________

        The Debtor, 11380 Smith Rd LLC (the “Plan Proponent”), filed an Amended
 Disclosure Statement (Docket No. 113, the “Disclosure Statement”) and an Amended
 Plan of Reorganization (Docket No. 112, the “Plan”) under Chapter 11 of the Bankruptcy
 Code on July 11, 2018. Accordingly,

         IT IS ORDERED:

 1. The Hearing to consider the adequacy of and to approve the Disclosure Statement
    pursuant to 11 U.S.C. § 1125 will be held at 1:30 p.m., on THURSDAY, AUGUST
    30, 2018, in Courtroom E, United States Bankruptcy Court for the District of
    Colorado, United States Custom House, 721 19th Street, Denver, Colorado (the
    “Hearing”).

 2. The Plan Proponent shall promptly and, in any event, not later than JULY 23, 2018:

    a.     mail the Notice of Hearing in the form attached (the “Notice of Hearing”) to all
           creditors and indenture trustees, all equity security holders, and other parties
           in interest; and,

    b.     mail a copy of the Plan, the Disclosure Statement, and the Notice of Hearing
           to the U.S. Trustee, to applicable regulatory authorities, including without
           limitation, the Securities and Exchange Commission and the Commissioner of
           Securities for the State of Colorado (all at their addresses of record as
           specified by Fed. R. Bankr. P. 2002(g)) and to Counsel for 11380 East Smith
           Rd Investments, LLC.

 3. The Plan Proponent shall also file with the Court by AUGUST 15, 2018, a certificate
    of mailing of the Notice of Hearing, Plan, and Disclosure Statement as ordered.

 4. Upon request of interested parties, the Plan Proponent will promptly provide copies
    of the Plan and Disclosure Statement.
Case:18-10965-TBM Doc#:114 Filed:07/16/18          Entered:07/16/18 13:56:04 Page2 of 4



 5. Objections to the Disclosure Statement shall be filed and served in the manner
    specified in Local Bankruptcy Rule 3017-1 and Fed. R. Bankr. P. 3017(a) by
    AUGUST 15, 2018.

 6. Pursuant to Fed. R. Bankr. P. 3003(c)(3), the Court previously set JUNE 22, 2018
    as the last day for any creditor or equity security holder whose claim or interest IS
    NOT scheduled or is scheduled as DISPUTED, CONTINGENT, OR
    UNLIQUIDATED to file a proof of claim. (See Docket No. 58.)

 DATED this 16th day of July 2018

                                                 BY THE COURT:



                                                 ______________________________
                                                 Honorable Thomas B. McNamara
                                                 United States Bankruptcy Court Judge
Case:18-10965-TBM Doc#:114 Filed:07/16/18           Entered:07/16/18 13:56:04 Page3 of 4




                           UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO
                         Bankruptcy Judge Thomas B. McNamara

   In re:
                                               Bankruptcy Case No. 18-10965 TBM
   11380 SMITH RD LLC,                         Chapter 11

   Debtor.
 ______________________________________________________________________

      NOTICE OF HEARING ON ADEQUACY OF DISCLOSURE STATEMENT
                        AND DEADLINE TO OBJECT
 ______________________________________________________________________

 TO THE DEBTOR, CREDITORS, EQUITY HOLDERS, AND ALL OTHER PARTIES-IN-
 INTEREST:

         NOTICE IS HEREBY GIVEN that a Disclosure Statement was filed by the Debtor
 11380 Smith RD LLC (the “Plan Proponent”). Pursuant to Order of the Court, a Hearing
 will be held on the adequacy of such Disclosure Statement at 1:30 p.m., on
 THURSDAY, AUGUST 30, 2018, in Courtroom E, United States Bankruptcy Court for
 the District of Colorado, United States Custom House, 721 19th Street, Denver (the
 “Hearing”).

        Pursuant to Local Bankruptcy Rule 3017-1, any objections to the Disclosure
 Statement shall be made in writing and the original of the objection shall be filed with
 the Court and a copy served on the Debtor and counsel for Debtor, the United States
 Trustee, and applicable regulatory agencies, including without limitation, the Securities
 and Exchange Commission and the Commissioner of Securities of the State of
 Colorado by AUGUST 15, 2018. Objections shall clearly specify the grounds upon
 which they are based, including the citation of supporting legal authority, if any, and
 references to the particular portions of the statement to which objections are made.
 General objections will not be considered by the Court.

        The Disclosure Statement is available for public inspection from 8:00 a.m. to 4:30
 p.m. during any regular business day in the Clerk’s Office of the United States
 Bankruptcy Court for the District of Colorado, U.S. Custom House, 721 19th Street,
 Denver, Colorado. Any interested party who desires a copy of the Disclosure Statement
 or Plan may submit such request to the Plan Proponent at the address stated below,
 with a copy of that request to the Clerk of the Bankruptcy Court. The Plan Proponent
 shall promptly provide the requested copy.

       The Hearing may be continued from time to time by Order made in Open Court
 without further written notice to creditors or other parties in interest.
Case:18-10965-TBM Doc#:114 Filed:07/16/18   Entered:07/16/18 13:56:04 Page4 of 4




 DATED: _________________          PLAN PROPONENT:

                             __________________________________
                             __________________________________
                             __________________________________
                             __________________________________
